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                               UNITED STATES COURT OF APPEALS
                                    FOR THE TENTH CIRCUIT

      ENTRY OF APPEARANCE AND CERTIFICATE OF INTERESTED
                           PARTIES

     RALAND J. BRUNSON


     v.                                                          Case No. 23-4108
     SONIA SOTOMAYOR, ET AL.

                       ENTRY OF APPEARANCE (10th Cir. R. 46.1(A))
        In accordance with Tenth Circuit Rule 46.1, the undersigned attorney(s) hereby appear(s)
 as counsel for:
 Sonia Sotomayor, Elena Kagan, and Ketanji Brown Jackson
 ______________________________________________________________________________
                                 [Party or Parties] 1

 ______________________________________________________________________________


 Appellee
 ____________________________________________________, in the above-captioned case(s).
        [Appellant/Petitioner or Appellee/Respondent]


 Amanda A. Berndt
 ______________________________________
                                                          Nathan H. Jack
                                                          ______________________________________
 Name of Counsel                                          Name of Counsel
 /s/ Amanda A. Berndt
 ______________________________________                   /s/ Nathan H. Jack
                                                          ______________________________________
 Signature of Counsel                                      Signature of Counsel
 111 S. Main St., Ste. 1800, SLC UT 84111, 801-524-5682   111 S. Main St., Ste. 1800, SLC UT 84111, 801-524-5682
 ______________________________________                   _____________________________________
 Mailing Address and Telephone Number                     Mailing Address and Telephone Number
 amanda.berndt@usdoj.gov
 ______________________________________                   nathan.jack@usdoj.gov
 E-Mail Address                                           E-Mail Address




 1
  Counsel must list each party represented. Do not use “et al.” or generic terms such as
 “Plaintiffs.” Attach additional pages if necessary.
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       CERTIFICATE OF INTERESTED PARTIES (10th Cir. R. 46.1(D))



 Pursuant to Tenth Circuit Rule 46.1(D), the undersigned certifies2 as follows:

     The following (attach additional pages if necessary) individuals and/or entities are not
        direct parties in this appeal but do have an interest in or relationship to the litigation
        and/or the outcome of the litigation. See 10th Cir. R. 46.1(D). In addition, attorneys not
        entering an appearance in this court, but who have appeared for a party in prior trial or
        administrative proceedings, are noted below.




 ✔ There are no such parties/attorneys, or any such parties/attorneys have already been
        disclosed to the court.


 08/23/2023
 _________________________
 Date

 /s/ Stephanie Reinhart
 _______________________________________
 Signature




 2
   Pursuant to Tenth Circuit Rule 46.1(D)(6), this certificate must be promptly updated if the
 required information changes.
                                                 2
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                                 CERTIFICATE OF SERVICE

 I hereby certify that:

                All other parties to this litigation are either: (1) represented by attorneys; or
                 (2) have consented to electronic service in this case; or

         ✔ On ____________________________
                  08/23/2023               I sent a copy of this Entry of Appearance
                                 [date]
              Form to:

 ______________________________________________________________________________
 Raland J. Brunson


   4287 S. Harrison Blvd, Apt. 132, Ogden, UT 84403
 at____________________________________________________________________________,

                                          U.S. Mail
 the last known address/email address, by ____________________________________________.
                                                         [state method of service]




 _________________________
 08/23/2023
 Date

 /s/ Stephanie Reinhart
 _______________________________________
 Signature




                                                    3
